       Case 4:08-cr-00317-SWW           Document 43        Filed 03/13/09      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                       *
                                                *
                     Plaintiff,                 *
vs.                                             *         No. 4:08cr00317 SWW
                                                *
                                                *
CRAIG A. HAGERTY and                            *
ANGELA L. HAGERTY,                              *
                                                *
                     Defendants.                *

                                             ORDER

       Defendant Craig A. Hagerty has filed in camera a financial affidavit which, on its face,

indicates eligibility for appointed counsel. Therefore, Magistrate Judge Deere’s Order entered

February 5, 2009 [doc.#24] appointing Assistant Federal Public Defender Omar F. Greene, II, as

counsel for defendant Craig A. Hagerty is hereby affirmed and shall remain in place.

       In the event it is determined that Mr. Hagerty is not entitled to appointed counsel, the

necessary steps shall be taken in order that Mr. Hagerty reimburse the government for the cost of

the representation provided by the Federal Public Defender.



              IT IS SO ORDERED this 13th day of March 2009.

                                             /s/Susan Webber Wright

                                             UNITED STATES DISTRICT JUDGE
